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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 AUTONOMOUS DEVICES, LLC,

                               Plaintiff,

                v.                                          C.A. No. 22-1466 (MN)

 TESLA, INC.,

                               Defendant.



                MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 83.5 and the attached certification, counsel moves the admission

pro hac vice of Daniel R. Gopenko, Aamir A. Kazi, Matthew Colvin, Ruffin Cordell and Ashley

Bolt of Fish & Richardson P.C. to represent Defendant, Tesla, Inc. in this matter.


Date: October 4, 2023                 FISH & RICHARDSON P.C.

                                      By:    /s/ Susan E. Morrison
                                            Susan E. Morrison (#4690)
                                            Grayson P. Sundermeir (#6517)
                                            222 Delaware Avenue, 17th Floor
                                            Wilmington, DE 19801
                                            (302) 652-5070
                                            morrison@fr.com
                                            sundermeir@fr.com

                                      Attorney for Defendant, Tesla, Inc.
                                      .


                                   ORDER GRANTING MOTION

        IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.


Date:
                                                  United States District Judge
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          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of Georgia, pursuant to Local

Rule 83.6, submit to the disciplinary jurisdiction of this Court for any alleged misconduct which

occurs in the preparation or course of this action. I also certify that I am generally familiar with

this Court’s Local Rules. In accordance with Standing Order for District Court Fund effective

9/1/16, I further certify that the annual fee of $25.00 has been paid to the Clerk of Court.




Dated: October 4, 2023




                                          Aamir A. Kazi
                                          FISH & RICHARDSON P.C.
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          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of Texas and, pursuant to

Local Rule 83.6, submit to the disciplinary jurisdiction of this Court for any alleged misconduct

which occurs in the preparation or course of this action. I also certify that I am generally familiar

with this Court’s Local Rules. In accordance with Standing Order for District Court Fund

effective 9/1/16, I further certify that the annual fee of $25.00 will be paid to the Clerk of Court.




Dated: October 4, 2023




                                          Matthew Colvin
                                          FISH & RICHARDSON P.C.
                                          1717 Main Street, Suite 5000
                                          Dallas, TX 75201
                                          214-292-4013
                                          colvin@fr.com
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           CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of Georgia and, pursuant to

Local Rule 83.6, submit to the disciplinary jurisdiction of this Court for any alleged misconduct

which occurs in the preparation or course of this action. I also certify that I am generally familiar

with this Court’s Local Rules. In accordance with Standing Order for District Court Fund

effective 9/1/16, I further certify that the annual fee of $25.00 has been paid to the Clerk of

Court.




Dated: October 4, 2023


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